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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

                                      :
SUSAN BYRNE,                          :
    Plaintiff                         :
                                      :         CIVIL CASE NO.:
v.                                    :         3:17-cv-01104 (VLB)
                                      :
YALE UNIVERSITY,                      :
     Defendant                        :         NOVEMBER 3, 2020
                                      :

                     MOTION TO WITHDRAW APPEARANCE

      Pursuant to Local Rule 7(e), I, Victoria Woodin Chavey, hereby move this

Court for an order granting permission to withdraw my appearance as counsel for

Defendant, as I am no longer associated with the law firm of Jackson Lewis P.C.

and should be removed from the Court’s service list with respect to the above-

captioned action. Attorney David Salazar-Austin has an appearance on behalf of

the above-referenced defendant, and is familiar with this matter, the posture of the

case, and its current status on the calendar.

      By way of this filing, the undersigned respectfully requests the Court issue

an order granting this motion to withdraw appearance.


                                      DEFENDANT,
                                      YALE UNIVERSITY


                                By:   /s/ Victoria Woodin Chavey
                                      Victoria Woodin Chavey (ct14242)
                                      Jackson Lewis PC
                                      90 State House Square, 8th Floor
                                      Hartford, CT 06103
                                      victoria.chavey@jacksonlewis.com
                                      Tel.: (860) 522-0404
                                      Fax: (860) 247-1330
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                           CERTIFICATION OF SERVICE

             I hereby certify that on November 3, 2020, a copy of the foregoing was

filed electronically. Notice of this filing will be sent to all parties by operation of

the Court’s electronic filing system. Parties may access this filing through the

Court’s system.



                                              /s/ Victoria Woodin Chavey
                                              Victoria Woodin Chavey



4834-4056-4921, v. 1
